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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     DAVID SUSKI, et al.,                               Case No. 21-cv-04539-SK
                                   8                    Plaintiffs,
                                                                                            ORDER REGARDING CASE
                                   9             v.                                         SCHEDULE
                                  10     MARDEN-KANE, INC., et al.,
                                                                                            Regarding Docket Nos. 118, 119
                                  11                    Defendants.

                                  12          The Court has considered both parties’ proposed changes to the case schedule and
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                                  13   HEREBY AMENDS the deadlines as follows:

                                  14          Defendant’s Answer:                                          October 12, 2022

                                  15          Defendant’s responses to set one of Plaintiff’s outstanding requests for production of

                                  16   documents and interrogatories:                                      October 19, 2022

                                  17          The parties shall submit a stipulation or competing proposals for a protective order by no

                                  18   later than October 4, 2022. If either party or both propose a protective order which differs from

                                  19   the Model Protective Order for Standard Litigation, they shall file a declaration explaining the

                                  20   differences and attach a redlined Model Protective Order to show the proposed changes.

                                  21          Alternative dispute resolution deadline:                     March 24, 2023

                                  22          Plaintiff’s motion for class certification:                  April 28, 2023

                                  23          Defendant’s opposition to class certification motion:        May 26, 2023

                                  24          Plaintiff’s reply supporting class certification motion:     June 16, 2023

                                  25          Hearing on motion for class certification:                   July 10, 2023.

                                  26          Close of fact discovery:                                     October 20, 2023

                                  27          Initial expert disclosures:                                  November 17, 2023

                                  28          Rebuttal expert disclosures:                                 December 15, 2023
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                                   1          Close of expert discovery:                                    January 19, 2024

                                   2          The last day for hearing dispositive motions shall be April 1, 2024. If the parties plan to

                                   3   file cross-motions for summary judgment, the parties shall meet and confer and agree to a briefing

                                   4   schedule whereby:

                                   5          •        one party files an opening summary judgment motion by February 2, 2024;

                                   6          •        the other party shall file its opposition and cross-motion by February 16, 2024;

                                   7          •        the reply and opposition to the cross-motion is due by March 1, 2024;

                                   8          •        the reply in support of the cross-motion is due by March 8, 2024.

                                   9          If the parties want to file dispositive cross-motions before the deadline, they shall stipulate

                                  10   to a similar briefing schedule whereby one party files an opening summary judgment motion

                                  11   seven weeks before the hearing is scheduled to be heard, the other party shall file its opposition

                                  12   and cross-motion five weeks before the hearing, the reply and opposition to the cross-motion is
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 United States District Court




                                  13   filed three weeks before the hearing, and the reply in support of the cross-motion is filed two

                                  14   weeks before the hearing. If only one side intends to file a motion for summary judgment, the

                                  15   briefing schedule set forth in the Northern District Local Civil Rules applies.

                                  16          Pretrial conference:                                          June 14, 2024

                                  17          Trial:                                                        July 16, 2024

                                  18          The party admonishes counsel that they shall remain professional and that unprofessional

                                  19   conduct in the future will be sanctioned.

                                  20          The Court HEREBY SETS a further Case Management Conference on April 10, 2023 at

                                  21   1:30 p.m. The parties shall file an updated joint case management statement by no later than April

                                  22   3, 2023.

                                  23          IT IS SO ORDERED.

                                  24   Dated: September 21, 2022

                                  25                                                    ______________________________________
                                                                                        SALLIE KIM
                                  26                                                    United States Magistrate Judge
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